Case 6:17-cv-00697-JDK-KNM Document 31 Filed 04/13/18 Page 1 of 3 PageID #: 118




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  TERRA TERSUS, LLC                           §
                                              §
         Plaintiff,                           §        CASE NO. 6:17-00697-RWS-KNM
                                              §
  vs.                                         §        LEAD CASE
                                              §
  XTO ENERGY, INC.                            §
                                              §
         Defendant.                           §



           JOINT MOTION FOR ENTRY OF AGREED E-DISCOVERY ORDER


        Plaintiff Terra Tersus, LLC (“Plaintiff”) and Defendants XTO Entergy, Inc. and National

 Oilwell Varco, L.P. (collectively, “Defendants”) jointly submit an Agreed E-Discovery Order,

 attached hereto as Exhibit A.

 Dated: April 13, 2018                        Respectfully submitted,

 /s/ Andrew G. DiNovo                             /s/ Charles E. Phipps
 Andrew G. DiNovo                                 Charles E. Phipps
 Texas State Bar No. 00790594                     Texas State Bar No. 00794457
 adinovo@dinovoprice.com                          cphipps@lockelord.com
 Adam G. Price                                    Paul D. Lein
 Texas State Bar No. 24027750                     Texas State Bar No. 24070133
 aprice@dinovoprice.com                           plein@lockelord.com
 Daniel L. Schmid                                 LOCKE LORD LLP
 Texas State Bar No. 24093118                     2200 Ross Avenue, Suite 2800
 dschmid@dinovoprice.com                          Dallas, Texas 75201
 Gabriel R. Gervey                                Telephone: (214) 740-8000
 Texas State Bar No.                              Facsimile: (214) 740-8800
 ggervey@dinovoprice.com
 DINOVO PRICE LLP                                 COUNSEL FOR DEFENDANT
 7000 N. MoPac Expressway, Suite 350              XTO ENERGY, INC.
 Austin, Texas 78731
 Telephone: (512) 539-2626                        /s/ Charles S. Baker
 Facsimile: (512) 539-2627                        Charles S. Baker
                                                  Texas State Bar No. 01566200
Case 6:17-cv-00697-JDK-KNM Document 31 Filed 04/13/18 Page 2 of 3 PageID #: 119




 COUNSEL FOR PLAINTIFF                 cbaker@lockelord.com
 TERRA TERSUS LLC                      LOCKE LORD LLP
                                       600 Travis, Suite 2800
                                       Houston, Texas 77002
                                       Telephone: (713) 226-1200
                                       Facsimile: (713) 223-3717

                                       COUNSEL FOR DEFENDANT
                                       NATIONAL OILWELL VARCO, L.P.




                                       2
Case 6:17-cv-00697-JDK-KNM Document 31 Filed 04/13/18 Page 3 of 3 PageID #: 120




                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

 deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to FED. R.

 CIV. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

 consented to electronic service were served with a true and correct copy of the foregoing by

 email, on April 13, 2018.



                                           /s/ Andrew G. DiNovo________________
                                           Andrew G. DiNovo




                                              3
